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             IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                         DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )               CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                           ORDER
FINCH, J.

        THIS MATTER comes before the Court on Defendants’ Appeal From Magistrate Judge’s

Order entered May 29, 2008 Granting Plaintiff’s Motion to Detain Defendants Pending Trial as

to Amon Thomas, Nathaniel Thomas and Okimo Meligan. For the reasons stated in the

accompanying Memorandum Opinion, it is hereby


        ORDERED that Defendants’ Appeal From Magistrate Judge’s Order entered May 29,

2008 Granting Plaintiff’s Motion to Detain Defendants Pending Trial as to Amon Thomas,

Nathaniel Thomas and Okimo Meligan is DENIED. It is further

        ORDERED that the Magistrate Judge’s Order entered May 29, 2008 is AFFIRMED. It

is further

        ORDERED that Defendants Amon Thomas, Nathaniel Thomas, and Okimo Meligan are

committed to the custody of the Attorney General for confinement in a corrections facility




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separate, to the extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. It is further

       ORDERED that said Defendants are afforded reasonable opportunity for private

consultation with counsel. It is further

       ORDERED that upon order of a court of the United States or upon request of an attorney

for the government, the federal Bureau of Prisons shall deliver said Defendants to the United

States Marshal for the purpose of appearance in connection with a court proceeding.




       ENTERED this 23rd day of June, 2008.


                                             _______________/s/_______________________
                                             HONORABLE RAYMOND L. FINCH
                                             U.S. DISTRICT JUDGE
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